         Case 2:24-cv-01933-JNW-MLP              Document 12        Filed 02/14/25      Page 1 of 2




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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8   SALVADOR HERRERA,

 9                              Petitioner,                Case No. C24-1933-JNW-MLP

10          v.                                             ORDER

11   ALEJANDRO N. MAYORKAS, et al.,

12                              Respondents.

13

14          This is an immigration habeas action proceeding under 28 U.S.C. § 2241. Respondent’s

15   motion to dismiss is currently noted for February 19, 2025. (Dkt. # 7.) This matter is before the

16   Court on Petitioner’s motion for a sixty-day extension of time to respond to Respondent’s motion

17   to dismiss. (Dkt. # 10.) In a supporting declaration, Petitioner indicates he is in segregated

18   custody and has been permitted only one hour per day to research, draft, type, and make copies

19   of his response. (Dkt. # 11.) Respondent has filed no opposition to Petitioner’s motion.

20          Finding good cause, the Court GRANTS Petitioner’s motion (dkt. # 10). Petitioner shall

21   file a response to the motion to dismiss by April 14, 2025. Respondent’s reply is due April 21,

22   2025. The Clerk is directed to re-note the motion to dismiss (dkt. # 7) for April 21, 2025, and to

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     ORDER - 1
         Case 2:24-cv-01933-JNW-MLP            Document 12       Filed 02/14/25      Page 2 of 2




 1   send copies of this Order to Petitioner, to counsel for Respondent, and to the Honorable Jamal N.

 2   Whitehead.

 3          Dated this 14th day of February, 2025.

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                                                         A
 5                                                       MICHELLE L. PETERSON
                                                         United States Magistrate Judge
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     ORDER - 2
